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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                        PLAINTIFF

Vs                              CASE NO. 4:06cr00218-01 JLH

ELIAS C RHODES                                                                DEFENDANT

                                          ORDER

       The United States’ motion to revoke pretrial release (docket entry #18) was

reached for hearing on November 21, 2006. Defendant announced that he waived a

hearing on the motion and agreed to detention. In light of this waiver and the fact that he

failed to appear for the hearing as originally set, the motion is granted.

       The defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable,

from persons awaiting or serving sentences or being held in custody pending appeal. The

defendant shall be afforded a reasonable opportunity for private consultation with defense

counsel. On order of a court of the United States or on request of an attorney for the

Government, the person in charge of the corrections facility shall deliver the defendant to

the United States Marshal for the purpose of an appearance in connection with a court

proceeding.

       IT IS SO ORDERED this 21st day of November, 2006.



                                                  UNITED STATES MAGISTRATE JUDGE
